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                         IN THE UNITED STATES DISTRICT COURT
                          DISTRIT OF UTAH, CENTRAL DIVISION


 INXPRESS, LLC, a Utah limited liability
 company,                                           MOTION FOR DEFAULT JUDGMENT

 Plaintiff,
                                                        Case No. 2:21-CV-00620-RJS-DAO
     v.
                                                              Judge Robert J. Shelby
 XGS LLC, a Florida limited liability
 company, CHRISTOPHER HORTENSI, an                      Magistrate Judge Daphne A. Oberg
 individual, and CARLA HORTENSI, an
 individual,

 Defendants.


          Pursuant to Rule 55(b)(1) of the Federal Rules of Civil Procedure and DUCivR 55-1(b)(1),

Plaintiff InXpress, LLC (“InXpress”), by and through counsel, hereby submits this Motion for

Default Judgment.

                       RELIEF SOUGHT AND GROUNDS THEREFOR

          The Court recently granted InXpress’s Motion for Entry of Default as against Defendant

XGS, LLC (“XGS”). Pursuant to Rule 55(b)(1) and because InXpress’s claim against XGS is for




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a sum certain, InXpress requests the Clerk of Court to enter default judgment against XGS in the

amount of $1,619,967.12.

                                  STATEMENT OF FACTS

                                       Procedural Posture

       1.      On September 13, 2021, InXpress filed its Complaint against XGS, Carla Hortensi,

and Christopher Hortensi (collectively, “Defendants”) in the Third Judicial District Court in and

for Salt Lake County, State of Utah. See generally Complaint, attached as Exhibit 1; see also

Affidavit of Dustin Hansen, attached as Exhibit 2, ¶ 13.

       2.      Based on XGS’s failure to comply with the terms of an agreement between

InXpress and XGS (the “Franchise Agreement”), the Complaint sought damages against XGS for

breach of contract or, in the alternative, unjust enrichment. See Exhibit 1 ¶¶ 27–37; Exhibit 2

¶¶ 4–13, 27.

       3.      On October 21, 2021, Defendants removed the action to this Court. See Notice of

Removal [Dkt. No. 2]; see also Exhibit 2 ¶ 15.

       4.      Upon Defendants’ failure to timely answer the Complaint and failure to appear or

appoint counsel, InXpress filed a Motion for Entry of Default. See Motion for Entry of Default

[Dkt. No. 20]; see also Exhibit 2 ¶¶ 16–24.

       5.      On March 14, 2022, the Court granted InXpress’s Motion for Entry of Default as

against XGS and directed the Clerk of Court to enter a default against XGS. See Order Granting

Motion for Entry of Default [Dkt. No. 23]; see also Exhibit 2 ¶ 25.

       6.      XGS has not made any attempt to set aside or seek relief from this entry of default.

See Exhibit 2 ¶ 26.



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       7.      The principal amount due InXpress for its claims against XGS, including interest

accrued as per the Franchise Agreement, is $1,619,967.12. Id. ¶¶ 6–12, 27–28.

                                          ARGUMENT

       InXpress is entitled to have the Clerk of Court enter default judgment against XGS.

Following entry of default against a defendant, Rule 55 outlines the procedure for entry of default

judgment against the defaulting defendant:

       If the plaintiff’s claim is for a sum certain or a sum that can be made certain by
       computation, the clerk—on the plaintiff’s request, with an affidavit showing the
       amount due—must enter judgment for that amount and costs against a defendant
       who has been defaulted for not appearing and who is neither a minor nor an
       incompetent person.

See Fed. R. Civ. P. 55(b)(1) (emphasis added). Here, XGS failed to respond or appear, and the

Court directed the Clerk of Court to enter default against XGS. See Statement of Facts (“Facts”)

¶¶ 4–5. XGS has made no effort to seek relief from the entry of default against it. See Facts ¶ 6.

The amount due InXpress for its claims against XGS can be made certain by computation, as

demonstrated in the affidavit of Dustin Hansen attached hereto. See Facts ¶ 7.

       Accordingly, InXpress seeks default judgment in its favor on its breach of contract claim

against XGS. As pled in the Complaint and supported by the Affidavit of Dustin Hansen, XGS

breached the Franchise Agreement it entered into with InXpress. See Facts ¶ 2. As of the present

date, XGS’s breach of contract has directly and proximately injured InXpress in an amount not

less than $1,619,967.12. See Facts ¶ 7. InXpress also asserted an alternative cause of action, unjust

enrichment, in the Complaint. See Facts ¶ 2. Damages related to that cause of action are equivalent

to those raised for InXpress’s breach of contract claim. See Facts ¶ 7.




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       Therefore, InXpress requests that the Clerk of Court enter the proposed Default Judgment,

attached hereto as Exhibit 3, and grant judgment in favor of InXpress on its claims against XGS.

                                        CONCLUSION

       For the above-described reasons, the Court should GRANT this Motion and enter default

judgment against XGS in the amount of $1,619,967.12.

       DATED this 28th day of April, 2022.

                                            KIRTON McCONKIE

                                            By:/s/ Taylor P. Kordsiemon
                                              Adam M. Kaas
                                              Taylor P. Kordsiemon
                                              Attorneys for Plaintiff InXpress, LLC




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                                CERTIFICATE OF SERVICE
       I hereby certify that on this 28th day of April, 2022, I caused a copy of the foregoing to

be filed using the Court’s CM/ECF electronic filing system, which provides service to all

counsel of record.

                                             /s/ Taylor P. Kordsiemon




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